Case 5:15-cv-00414-SMH-MLH Document 16 Filed 04/01/15 Page 1 of 2 PageID #: 72




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 LAKE BISTINEAU ROYALTY                             CIVIL ACTION NO. 15-00414
 COMPANY, L.L.C.

 VERSUS                                             JUDGE S. MAURICE HICKS, JR.

 CHESAPEAKE LOUISIANA, L.P.,
 CHESAPEAKE OPERATING, L.L.C.,                      MAGISTRATE MARK L. HORNBY
 JAMESTOWN RESOURCES, L.L.C.,
 FREEPORT-MCMORAN OIL & GAS, LLC,
 and PXP LOUISIANA L.L.C.

             JAMESTOWN RESOURCES, L.L.C’S CORPORATE DISCLOSURE

        Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 5.6W, Defendant

 Jamestown Resources, L.L.C. (“Jamestown”) certifies that it is a limited liability company whose

 members are Aubrey K. McClendon and Kathleen B. McClendon. There is no publicly held

 corporation that owns ten (10) percent or more of Jamestown.

                                                    Respectfully submitted,

                                                    GORDON, ARATA, MCCOLLAM,
                                                     DUPLANTIS & EAGAN, LLC

                                                    By: /s/ Scott A. O’Connor
                                                    Scott A. O’Connor (La. Bar No. 19723), TA
                                                    Dana E. Dupre (La. Bar No. 31143)
                                                    Alex B. Rothenberg (La. Bar No. 34740)
                                                    201 St. Charles Avenue, 40th Floor
                                                    New Orleans, LA 70170-4000
                                                    Telephone: (504) 582-1111
                                                    Email: soconnor@gordonarata.com
                                                    Email: ddupre@gordonarata.com
                                                    Email: arothenberg@gordonarata.com
                                                    Attorneys for Jamestown Resources,
                                                    L.L.C.




 2246600_1
Case 5:15-cv-00414-SMH-MLH Document 16 Filed 04/01/15 Page 2 of 2 PageID #: 73




                                  CERTIFICATE OF SERVICE

         I certify that on April 1, 2015, I electronically filed the foregoing with the clerk of court
 using the CM/ECF system. Notice of this filing will be sent to all counsel of record by operation
 of the court’s electronic filing system.


                                       /s/ Scott A. O’Connor
                                       Scott O’Connor (19723)




 2246600_1
